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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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TRUSTEES OF THE NEW YORK CITY
DISTRICT COUNCIL OF CARPENTERS
PENSION FUND, WELFARE FUND, ANNUITY
FUND, and APPRENTICESHIP, JOURNEYMAN
RETRAINING, EDUCATIONAL AND
INDUSTRY FUND, et al.,
                                    Petitioners,                        20 CIVIL 2867 (GHW)

                  -against-                                                 JUDGMENT
FURNITURE BUSINESS SOLUTIONS, LLC,
                                    Respondent.
-----------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated November 5, 2020, the petition to

confirm the arbitration award is granted; judgment is entered for Petitioners in the amount of

$60,167.57, plus prejudgment interest calculated at 7.5% per annum from December 18, 2019

through the date of judgment in the amount of $3,993.31, together with attorney’s fees and costs

in the amount of $2,079.40; Post-judgment interest shall accrue at the statutory rate pursuant to 28

U.S.C. § 1961 from the date judgment is entered until payment is made in full; accordingly, this

case is closed.

Dated: New York, New York
       November 5, 2020
                                                                       RUBY J. KRAJICK
                                                                       _________________
                                                                         Clerk of Court

                                                                 BY:   _________________
                                                                          Deputy Clerk
